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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

JAVIER CAZARES, ET AL.,             §
     Plaintiffs,                    §
                                    §
v.                                  § CIVIL ACTION NO. 2:24-CV-045
                                    §
JUAN MALDONADO, ET AL.,             §
      Defendants.                   §
______________________________________________________________________________

                            ORDER OF DISMISSAL
______________________________________________________________________________

       This day the Court considered Defendants Joel Betancourt, Richard Bogdanski, Crimson

Elizondo, Victor Escalon, Christopher Kindell, Juan Maldonado, and Luke Williams’ motion to

dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).

       For the reasons presented in the motion, the Court finds that Plaintiffs have failed to state

any claim for which relief may be granted, and Defendants are entitled to qualified immunity.

       It is hereby ORDERED that the motion to dismiss is in all things GRANTED. Any and

all claims brought by Plaintiffs against Defendants Joel Betancourt, Richard Bogdanski, Crimson

Elizondo, Victor Escalon, Christopher Kindell, Juan Maldonado, and Luke Williams in the above-

numbered and styled cause of action are hereby DISMISSED with prejudice.

              SIGNED this _____ day of _______________________, 20____.


                              _______________________________
                                    PRESIDING JUDGE
